
USCA1 Opinion

	











                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________


            No. 97-1489

                             NYLSA ACOSTA-OROZCO, et al.,

                               Plaintiffs, Appellants,

                                          v.

                         CARMEN RODRIGUEZ-DE-RIVERA, et al.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                      [Hon. Jose A. Fuste, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

                      Manuel Alvarado for appellants.
                      _______________
                      Roxanna   Badillo-Rodriguez,  Assistant   Solicitor
                      ___________________________
            General,  Commonwealth of Puerto Rico, with whom Carlos Lugo-
                                                             ____________
            Fiol,  Solicitor General of  the Commonwealth of  Puerto Rico
            ____
            and Edda  Serrano-Blasini, Deputy Solicitor  General, were on
                _____________________
            brief, for appellees.

                                 ____________________

                                  December 22, 1997
                                 ____________________




















                      LYNCH,  Circuit Judge.  This is another in a series
                      LYNCH,  Circuit Judge.  
                              _____________

            of  cases  following  the  assumption of  power  by  the  New

            Progressive Party  (NPP) in Puerto Rico in  elections held in

            November 1992.   In  these cases,  plaintiffs are  government

            employees  who are members  of the losing  Popular Democratic

            Party  (PDP) who assert that  they were terminated or demoted

            from  their jobs  because  of  their political  affiliation.1

            This  court faced  an earlier  wave  of such  cases when  PDP

            candidates  won election in  1984 and NPP  members complained

            that  their government jobs  suffered because of  their party

            membership.

                      In this case, the PDP-affiliated plaintiffs are six

            long-term government  employees who  were demoted from  their

            civil  service positions  as Managerial  Coordinators in  the

            Commonwealth's Department  of Social  Services, now  known as

            the Department of the Family.   They say their duties are now

            being performed  by NPP members  who have been  designated as

            aides to the Regional Directors  of the agency.  The district

            court granted summary  judgment for defendants on  the theory

            that plaintiffs had not made out a prima facie case  and that

            defendants  had  established  they would  have  taken  action

            anyway for  non-political reasons, regardless  of plaintiffs'

                                
            ____________________

            1.  See, e.g., Nieves-Villanueva v. Soto-Rivera, No.  96-1285
                _________  _________________    ___________
            (1st Cir. 1997);  In re Martinez-Catala, 1997 WL  693558 (1st
                              _____________________
            Cir.  1997); Roldan-Plumey v. Cerezo-Suarez, 115 F.3d 58 (1st
                         _____________    _____________
            Cir. 1997);  Ortiz-Pinero v.  Rivera-Arroyo, 84  F.3d 7  (1st
                         ____________     _____________
            Cir. 1996).

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            political affiliation.  Because we believe there are material

            facts in dispute, we reverse and remand.

                                          I.
                                          I.

                      Our review of the district court's grant of summary

            judgment is  de novo.   Sears, Roebuck  &amp; Co. v.  Goldstone &amp;
                                    _____________________     ___________

            Sudalter, P.C.,  128 F.3d 10,  15 (1st Cir. 1997).   We state
            ______________

            the facts in  the light most favorable to  the party opposing

            summary judgment.  See id. at 12.
                               ___ ___

                      Plaintiffs are six  career civil service  employees

            of the former  Department of Social Services of  Puerto Rico,

            now known as the  Department of the Family, all of  whom have

            been working  at the Department  for over twenty years.   All

            plaintiffs belong  to the PDP,  the party of  former Governor

            Rafael Hernandez Colon, who held office for two terms between

            1984 and 1992.   In a process that began in  late 1987, a new

            supervisory position of  "Managerial Coordinator" was created

            within  the  Department.   Between  1988  and  1992,  the six

            plaintiffs  and  several  others were  promoted  to  this new

            position.

                      The  Managerial  Coordinator classification  was  a

            middle   level   managerial  position   created   to  provide

            assistance to the  several Regional Directors.   The Regional

            Directors, in turn, report to  the Secretary, a member of the

            Governor's  cabinet.    The  Managerial  Coordinator job  was

            established  as a career  position under Puerto  Rico's civil



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            service laws, which require that such an employee be selected

            strictly on merit and can only  be removed for cause.  See  3
                                                                   ___

            L.P.R.A.    1301,  1331-1338; Agosto-de-Feliciano v.  Aponte-
                                          ___________________     _______

            Roque, 889  F.2d 1209,  1213 n.3 (1st  Cir. 1989)  (en banc).
            _____

            The Regional  Directors,  in  contrast,  were  classified  as

            "confidential employees," who are  involved in the  formation

            of public  policy and render  direct services to the  head of

            the department,  the Secretary  of Social  Services.   See  3
                                                                   ___

            L.P.R.A.   1350;  Agosto-de-Feliciano, 889 F.2d at  1213 n.3.
                              ___________________

            The  Central Office of  Personnel Administration  (COPA), the

            agency charged with administering Puerto Rico's civil service

            laws, approved  the creation  of  the Managerial  Coordinator

            position.    In  approving the  position,  the  civil service

            agency necessarily  concluded that political  affiliation was

            not  a  necessary  prerequisite   for  holding  a  Managerial

            Coordinator position.

                      The  Director   of  COPA  described   the  position

            generally, in a job description written in 1988, as entailing

            "managerial and administrative  work of great  complexity and

            responsibility  in  the  coordination and  evaluation  of the

            . . . activities  of the Local Offices . . . ."   Plaintiffs'

            immediate superiors were  the Regional Directors.   On paper,

            according to the COPA job description, the official duties of

            a Managerial Coordinator  included offering technical  advice

            on  the agency's work  plans, keeping the  Regional Directors



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            and  the  Secretary  informed  of  local  office  operations,

            investigating  and  reporting  on  grievances  of  employees,

            monitoring  local  offices' expenses,  training  local office

            supervisors, analyzing statistical reports, preparing reports

            about evaluation visits  to local offices, and  other duties.

            In practice,  plaintiffs' duties  as Managerial  Coordinators

            ranged   widely,  and   included  coordinating   inter-agency

            programs, attending  to client  complaints, substituting  for

            the  Regional  Director,  planning  professional  and  social

            activities,  and signing per  diem and  mileage reimbursement

            checks.  Plaintiffs' positions "provid[ed] support  functions

            to the Regional Directors, analogous to those of an aide."

                      In  the 1992 general election, the PDP was defeated

            by the  rival NPP, and  the present governor,  Pedro Rosello,

            came  to  power.   Governor  Rosello  named  defendant Carmen

            Rodriguez-de-Rivera   as   Secretary  of   Social   Services.

            Rodriguez-de-Rivera, in  turn, hired the  Regional Directors.

            In the first  month of the  new administration, the  Regional

            Directors began to take away many of the duties and functions

            that  the   Managerial  Coordinators  had   been  performing,

            assigning  those duties  to  other  employees  who  were  NPP

            activists   and  had   been   designated,     officially   or

            unofficially,   as   aides   to   the   Regional   Directors.

            Additionally,  the  Regional  Directors  took  away from  the

            Managerial  Coordinators several  perquisites  that had  been



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                                          5















            associated with  that position,  such as  parking, telephones

            and office space.   Defendants were aware  of plaintiffs' PDP

            political  party   affiliation,   and  the   aides  to   whom

            plaintiffs' duties were assigned were all politically  active

            supporters of the NPP party, newly in power.

                      In February 1993, one  Managerial Coordinator wrote

            defendant  Rodriguez-de-Rivera,  to  complain  that  the  new

            Regional  Directors had taken away the duties and perquisites

            of  her  position.    Rodriguez-de-Rivera's reaction  was  to

            launch  an investigation  of the  complainant  and the  other

            Managerial  Coordinators.     The  stated   purpose  of   the

            investigation  was to determine  whether the creation  of the

            position and  the selection  of candidates  had been  proper.

            Plaintiffs contend that the real purpose of the investigation

            was to provide a legal cover for the impending demotions.

                      In   May   1993,    Secretary   Rodriguez-de-Rivera

            dispatched Carmen Salivia, an official of the Social Services

            Department, to  conduct field interviews  with the Managerial

            Coordinators.     During   the  interviews,   the  Managerial

            Coordinators described the  duties of their positions  -- now

            being  performed by  NPP-affiliated aides  --  and said  they

            reported  to the Regional  Directors.  Salivia  completed the

            interviews  and  delivered  her  notes to  defendant  Enrique

            Gonzalez-Polanco, Assistant Secretary in Charge of Personnel,

            or to Mrs. Carmen Haddock, who worked in the office.  Salivia



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                                          6















            drew no conclusions and her investigation was terminated when

            she went on vacation.

                      Rodriguez-de-Rivera also hired Francisco Cappas, an

            outside personnel consultant, to review the matter.  Although

            Salivia understood that her notes would be used in the Cappas

            investigation, the interview notes were never given to Cappas

            before he completed his reports.   Cappas apparently held  no

            position within the government.

                      In June 1993,  Cappas submitted two letter  reports

            to  Rodriguez-de-Rivera.  In the first, he concluded that the

            position of Managerial Coordinator should be declared a legal

            nullity  because it  had  been  improperly  created  and  was

            duplicative  of  the  duties   of  the  Regional   Directors.

            Specifically, he  concluded that the  Managerial Coordinators

            were in reality policymaking  officials who reported directly

            to the Secretary, not to the Regional Directors, and that the

            position   should   therefore   have   been   classified   as

            "confidential"  rather than as  a career civil  service post.

            Under  Puerto  Rico law,  "confidential  employees" are  only

            those  employees  who report  directly  to  the head  of  the

            agency.    See 3  L.P.R.A.     1350 (aides  to  the heads  of
                       ___

            departments, but not aides to regional directors, included in

            list  of  confidential  employees).   These  conclusions  are

            facially  contrary to  the determination  made  by COPA,  the





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            civil  service agency, when  it approved the  creation of the

            positions.2  

                      In his second report, Cappas concluded that many of

            the  Managerial Coordinators  had  been improperly  promoted,

            even though COPA had approved many of these promotions at the

            time.  Cappas recommended that the Managerial Coordinators be

            given a  hearing and -- if they could not counter his initial

            assessment   --  that  they  be  demoted  to  their  previous

            positions.

                      In  December  1993, Rodriguez-de-Rivera  asked  the

            Secretary of  Justice of  Puerto Rico for  an opinion  on the

            legality  of   the  Managerial   Coordinators'  appointments,

            repeating  the allegations  of the  Cappas reports.   In  May

            1994,  the Secretary of Justice declined  to give an opinion,

            noting  that the  legality  of  the Managerial  Coordinators'

            appointments  depended  on  the  factual  accuracy  of  those

            allegations, not  on any question  of law, and  referred that



                                
            ____________________

            2.  Cappas  said  that  the   COPA  document  describing  the
            position  had originally stated that the position reported to
            the Secretary, but that this document was altered with liquid
            paper  to state that  the position  reported to  the Regional
            Directors.  Cappas drew the inference that COPA had conspired
            with  the Managerial  Coordinators  to  alter the  documents.
            There is  no evidence  that he  considered another  plausible
            explanation  --that  the  alteration was  a  correction  of a
            mistake  in  the  original  --  and  Cappas  was  unaware  of
            plaintiffs'  statements  to Salivia  in the  field interviews
            that they had always reported  to the Regional Directors.  Of
            course,  a  reasonable  jury  could  credit  the  plaintiffs'
            testimony and discredit the defendants' forgery theory.

                                         -8-
                                          8















            issue  to COPA, whose special expertise is the administration

            of Puerto Rico's civil service laws.  

                      Rodriguez-de-Rivera then requested  the Director of

            COPA and  the Director  of the  Budget and  Management Office

            (BMO)  to   determine  that   the   position  of   Managerial

            Coordinator was a  nullity, sending a copy of  her letters to

            Governor Rosello and his staff.  The  COPA director responded

            by disputing  several of the  claims contained in  the Cappas

            reports,  and  by   refusing  to  nullify  the   position  or

            promotions of the Managerial Coordinators.

                      In  contrast with the civil service agency, the BMO

            director responded by stating that he could find no  document

            authorizing budgetary approval for the position, and drew the

            inference that the position was therefore illegally created.3

                      In spite of  the COPA opinion,  on August 9,  1994,

            Rodriguez-de-Rivera issued an  administrative order providing

            "[t]hat all  positions classified as  Managerial Coordinators

            in the Department are null."  Plaintiffs were not afforded an

            administrative hearing prior to this declaration, or given an

            opportunity  to dispute  the  allegations  contained  in  the

            Cappas reports, although this had been recommended by Cappas.

                                
            ____________________

            3.  There is no evidence that the BMO director considered the
            possibility, also  plausible, that  the proper  document from
            six years earlier simply had not been found.  Plaintiffs have
            produced  documents that tend  to show that  the BMO approved
            the Managerial Coordinator position and that there has always
            been budgetary authority for salaries and expenses associated
            with that position. 

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                                          9















            Each   of  the  plaintiffs  was  thereafter  demoted  to  the

            positions they had  previously held within the agency.   As a

            result of  the nullification  order, each  of the  plaintiffs

            suffered a loss of salary in addition to making permanent and

            official their previous de facto loss of position.

                      Plaintiffs say that their significant job functions

            have been assumed  by other persons, all NPP  members, all in

            the position of  aides to the Regional Directors.   It is our

            understanding that aides to persons at  the level of regional

            directors   cannot  be   classified  as   "confidential"  (or

            political) employees within the Puerto Rico personnel system.

            See 3 L.P.R.A.   1350.
            ___

                                         II.
                                         II.

                      In November  1994, plaintiffs filed  suit, alleging

            violations  of  their  First Amendment  rights  of  political

            affiliation under Elrod v. Burns, 427 U.S. 347 (1976), Branti
                              _____    _____                       ______

            v. Finkel, 445 U.S. 507  (1980) and Rutan v. Republican Party
               ______                           _____    ________________

            of Ill.,  497 U.S. 62  (1990).  Plaintiffs also  alleged that
            _______

            they were deprived of a property interest without due process

            of  law, and that  their demotions violated  the constitution

            and statutes of the Commonwealth  of Puerto Rico.  On January

            27, 1997,  the district  court granted  summary judgment  for

            defendants,  finding that plaintiffs  had not shown  a causal

            connection  between  their  demotions   and  their  political

            affiliation.     The  district  court   also  reasoned   that



                                         -10-
                                          10















            defendants'   stated   rationale   for   the   demotions   --

            departmental efficiency and respect for the personnel laws --

            was sufficient  to compel  a  finding that  defendants had  a

            defense under  Mount Healthy  City Sch.  Dist. v.  Doyle, 429
                           _______________________________     _____

            U.S. 274  (1977), even  if political  affiliation had  played

            some part in their decision.

                                         III.
                                         III.

                      Plaintiffs  have  produced evidence  sufficient  to

            support a prima facie case of political party discrimination.

            The First Amendment prohibits the government from demoting an

            employee  for  patronage  purposes  unless  political   party

            affiliation  is an appropriate requirement for that position.

            See Rutan,  497  U.S.  at  64;  Nereida-Gonzalez  v.  Tirado-
            ___ _____                       ________________      _______

            Delgado, 990 F.2d 701, 705 (1st Cir. 1993).   A plaintiff who
            _______

            was  demoted  from  a  job  for  which  a  party  affiliation

            requirement  is   inappropriate  "may   ordinarily  forestall

            summary judgment by pointing to evidence in the record which,

            if credited, would  permit a rational factfinder  to conclude

            that   a  demotion  occurred  and  that  it  stemmed  from  a

            discriminatory animus."  Nereida-Gonzalez, 990 F.2d at 706.
                                     ________________

                      There is  no dispute that plaintiffs  were demoted;

            the "nullity" decree4  eliminated their supervisory positions

                                
            ____________________

            4.  Of   course,  "a  new  administration  [cannot]  use  the
            'nullity'  of appointments doctrine as a cover of discharges,
            transfers,  and  discrimination  based  solely  on  political
            affiliation."   Santiago-Negron  v.  Castro-Davila, 865  F.2d
                            _______________      _____________
            431, 436 (1st Cir. 1989).

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                                          11















            altogether   and  returned  them   to  the  jobs   they  held

            previously,  which are  of lower  rank  and salary.   As  the

            subjects  of demotion, "which  involve reductions in  pay and

            official rank,"  Agosto-de-Feliciano, 889 F.2d  at 1218  n.8,
                             ___________________

            plaintiffs  plainly need not  establish that their  new "work

            situation  [is] unreasonably  inferior to  the  norm for  the

            position"  such that  "the new  work  conditions would  place

            substantial pressure on even one  of thick skin to conform to

            the prevailing political view."  Id. at 1218.5
                                             ___

                                
            ____________________

            5.  The  "unreasonably   inferior"  doctrine   of  Agosto-de-
                                                               __________
            Feliciano   was   expressly   limited    to   complaints   of
            _________
            discrimination short  of actual  demotion.   See id.  at 1218
                                                         _______
            n.8.    Thus  we  need  not  consider whether  that  doctrine
            survives  the Supreme  Court's extension  of First  Amendment
            protections  against  patronage   dismissals  to  "promotion,
            transfer, recall, and hiring decisions."   Rutan, 497 U.S. at
                                                       _____
            79.  "It  is an interesting question whether  some vestige of
            [the 'unreasonably  inferior' rule]  survives Rutan,  thereby
                                                          _____
            providing  a sort of . . . intermediate First Amendment haven
            for employees wounded by slings and arrows less damaging than
            those  [official  actions]  described by  the  Rutan  court."
                                                           _____
            Nereida-Gonzalez,  990 F.2d at  705.   That question  must be
            ________________
            answered another day.
                 The  Rutan Court  suggested  in dicta  that  any adverse
                      _____
            action  against a  public  employee,  no  matter  how  minor,
            violates the First  Amendment if it is in  retaliation for an
            employee's  exercise of First  Amendment rights.   See Rutan,
                                                               ___ _____
            497 U.S. at 76 n.8 ("The First Amendment . . . protects state
            employees . . . from even an act of retaliation as trivial as
            failing  to hold  a  birthday party  . . .  when intended  to
            punish  [them] for  exercising [their]  free  speech rights."
            (internal quotation marks and citation omitted)).  We do  not
            regard such  colorful  rhetoric  as  necessarily  foreclosing
            something like the "unreasonably inferior" rule for personnel
            actions short of demotions or transfers.  The Rutan Court was
                                                          _____
            concerned with "deprivations  less harsh than  dismissal that
            nevertheless press state employees and  applicants to conform
            their  beliefs  and   associations  to  some   state-selected
            orthodoxy,"  id. at 75,  a formulation similar  to Agosto-de-
                         ___                                   __________
            Feliciano's  standard that  "the  new  work conditions  would
            _________

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                      Viewed  in   the  light   most  favorable   to  the

            plaintiffs, the  summary judgment  record amply  demonstrates

            that  a rational factfinder could conclude that the demotions

            stemmed from a  discriminatory animus.  In this  case, it was

            uncontested for summary judgment purposes that the plaintiffs

            were  all members of the  adverse party, that their superiors

            knew  this,  and  that  their  duties  were given  to  active

            supporters of  the party  in power.   Of course,  the Supreme

            Court has cautioned that the mere fact that an adverse action

            was  taken after an employee exercises First Amendment rights

            is not enough by itself to establish a prima facie case.  See
                                                                      ___

            Board  of County  Comm'rs v.  Umbehr, 116  S. Ct.  2342, 2352
            _________________________     ______

            (1996).   "Merely juxtaposing  a protected characteristic  --

            someone  else's politics  --  with  the  fact  plaintiff  was

            treated  unfairly is  not enough  to  state a  constitutional

            claim."  Correa-Martinez v. Arrillaga-Belendez,  903 F.2d 49,
                     _______________    __________________

            58 (1st Cir. 1990) (citation omitted).

                      Nevertheless, a plaintiff  need not produce  direct

            evidence  of discriminatory  treatment (a  so-called "smoking

            gun")   to  establish  a  prima  facie  case  of  politically

            discriminatory demotion.   We have reversed entry  of summary

            judgment in  favor of  defendants in  cases where  plaintiffs

                                
            ____________________

            place  substantial pressure  on  even one  of  thick skin  to
            conform  to  the  prevailing  political  view."    Agosto-de-
                                                           ______________
            Feliciano,  889 F.2d at 1218.  We leave the resolution of any
            _________
            conflict in the  standard for such adverse  personnel actions
            to some future case.

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            have produced sufficient evidence  of a discriminatory animus

            through circumstantial evidence.   See, e.g., Rivera-Ruiz  v.
                                               _________  ___________

            Gonzalez-Rivera,   983  F.2d  332,   335  (1st   Cir.  1993);
            _______________

            Rodriguez-Pinto v.  Tirado-Delgado, 982 F.2d  34, 39-40  (1st
            _______________     ______________

            Cir.  1993); Aponte-Santiago v. Lopez-Rivera, 957 F.2d 40, 43
                         _______________    ____________

            (1st Cir.  1992).  In  Anthony v. Sundlun, 952  F.2d 603 (1st
                                   _______    _______

            Cir. 1991), this court noted:

                      [T]he  appellants' argument  seems  to be
                      that political  favoritism must be proved
                      by   direct  evidence.      We  disagree.
                      Victims  of   heavy-handed  uses  of  the
                      spoils system are  not limited to redress
                      in only those (relatively rare) instances
                      in which a "smoking gun" can be produced.
                      To the exact contrary, we have held, time
                      and again,  that circumstantial  evidence
                      alone can support a finding of  political
                      discrimination.

            Id. at 605 (citing cases).
            ___

                      In this  case, plaintiffs presented much  more than

            the  mere fact  that they  were demoted  by supervisors  of a

            different party.   First, the  reason given for  the supposed

            nullity of the Managerial Coordinators' appointments was that

            their positions were  improperly classified as  civil service

            rather  than "confidential"  positions.   This  suggests that

            defendants  believed it  was  appropriate  to take  political

            party affiliation into  account in deciding to  eliminate the

            Managerial  Coordinators and transfer their duties to the new

            aides to  the Regional  Directors.   Indeed, that is  exactly

            what plaintiffs  say happened: their  duties were transferred



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                                          14















            to NPP members.  This  happened although a jury could readily

            find the  position was  appropriately classified  as a  civil

            service position.  

                      Second, a reasonable  jury could find Rodriguez-de-

            Rivera's reaction to the initial complaint from a  PDP member

            that  her  rights under  the  civil service  laws  were being

            violated -- to launch an investigation of  the complainant --

            to be evidence of political discrimination.  

                      Third, the conduct of that investigation, including

            the failure to apprise Cappas of the Managerial Coordinators'

            statements  that they  reported  to the  Regional  Directors,

            could   support  a  reasonable  inference  that  it  was  not

            conducted fairly, but rather was simply intended to provide a

            legal  pretext  for  a foreordained  decision  to  demote the

            plaintiffs. 

                      Fourth, the failure to afford  plaintiffs a hearing

            to  contest the allegations  concerning the alleged "nullity"

            of their  appointments and promotions  could likewise  fairly

            imply  that the Department  was uninterested in  the truth of

            the controversy.  

                      Finally,  Rodriguez-de-Rivera's  disagreement  with

            the advice of  COPA, Puerto Rico's civil  service commission,

            casts   serious  doubt  on  the  supposed  "nullity"  of  the

            plaintiffs' appointments or promotions and an inference could





                                         -15-
                                          15















            be  drawn that  her  decision  was in  fact  motivated by  an

            unlawful patronage objective.

                                         IV.
                                         IV.

                      The  district  court  did  not  rest  its  decision

            entirely  on  its  view  of  plaintiffs'  prima  facie  case,

            however,  but decided  that defendants  had  established that

            they  would  have   taken  the  same  action   regardless  of

            plaintiffs' political  affiliation  for  what  it  considered

            "credible policy reasons" of departmental  efficiency.  This,

            the district  court  reasoned, established  a  valid  defense

            under  Mount  Healthy.   The  district  court noted  what  it
                   ______________

            considered "a logical inconsistency" in plaintiffs' claims of

            political  discrimination.    Observing that  the  record was

            unclear  whether every Managerial Coordinator was a member of

            the PDP, the district court reasoned that political diversity

            among the Managerial Coordinators undercut plaintiffs' claims

            of political discrimination.6  The district court added that,

                                
            ____________________

            6.  Of  course,  political  diversity  among  the  Managerial
            Coordinators would  not doom plaintiffs'  claim.   Defendants
            cannot  prevail simply  by showing  that  a desire  to reward
            their  political supporters, rather  than a desire  to punish
            their political opponents,  underlay their decision.   Either
            motive may  produce unlawful  results.   The First  Amendment
            condemns  "the coercion of belief that necessarily flows from
            the knowledge  that one must  have a sponsor in  the dominant
            party  in order to retain one's job."   Branti v. Finkel, 445
                                                    ______    ______
            U.S. 507, 516 (1980).  That coercion is equally unlawful when
            it is directed toward apolitical career employees as  when it
            is  directed  towards  a party's  political  opponents.   See
                                                                      ___
            Bennis  v. Gamble, 823 F.2d 723, 731-32 (3d Cir. 1987).  That
            ______     ______
            a  party  chooses to  reward  its  followers with  good  jobs
            inevitably  affects those who  are not followers  and who see

                                         -16-
                                          16















            alternatively, if the positions  were filled exclusively with

            PDP  members, that "would  indicate that the  position served

            some  political purpose,  and was thus  a 'de  confianza,' or

            trust position," as the Cappas report had claimed.

                      The burden  of persuasion  is on  the Secretary  to

            establish a Mount  Healthy defense.  "Summary  judgment would
                        _____  _______

            have  been warranted  . . . only  if defendants'  evidentiary

            proffer compelled  the finding that  political discrimination

            did  not  constitute a  'but  for' cause  for  the demotion."

            Jirau-Bernal v. Agrait,  37 F.3d 1, 4 (1st Cir. 1994).  Here,
            ____________    ______

            there  are  significant  disputes  of  material  fact   which

            preclude a finding on summary judgment for defendants.

                      Defendants'  evidence   that  their   decision  was

            motivated by a concern for departmental efficiency that would

            have  resulted in  the same  personnel  action regardless  of

            plaintiffs' political affiliation  is both  disputed and  far

            from  conclusive.  First, Cappas's finding that the existence

            of the Managerial  Coordinators interrupted the free  flow of

            the  agency hierarchy  was based  on  a view  that plaintiffs

            reported  to  the  Secretary, not  to  her  subordinates, the

            Regional Directors.   Plaintiffs  have successfully  put this

            conclusion into doubt  through their sworn statements  to the

                                
            ____________________

            their upward mobility in the agency thwarted in very concrete
            ways.  Here, plaintiffs say  their duties were assumed by NPP
            members.    Rutan  expressly discussed  the  effect  on First
                        _____
            Amendment rights  of employees  left in  such dead-end  jobs.
            See Rutan, 497 U.S. at 73.
            ___ _____

                                         -17-
                                          17















            contrary.   Second, plaintiffs, in their affidavits, say that

            their duties and  responsibilities have  been transferred  to

            new aides to the Regional Directors associated with the  NPP.

            If  this is  true, it  calls into  question the  Department's

            "efficiency"  rationale,  as   the  addition  of   new  aides

            undercuts  any argument that the positions were eliminated to

            save departmental resources.

                      Of course, defendants'  contention that plaintiffs'

            demotions were the result of a valid concern for departmental

            efficiency and regularity -- even if political discrimination

            was a  "substantial factor"  in the decision  -- is  a viable

            defense at trial.  To establish that defense, defendants must

            show  that the  allegedly bona  fide  reasons underlying  the

            demotions  were  sufficient  by  themselves  to  justify  the

            decisions.    After Rutan,  it  is clear  that  if defendants
                                _____

            thought  that  plaintiffs'   political  beliefs  alone  would

            prevent  them from carrying out the department's policy, that

            is  not  an  acceptable   reason  for  the  demotions.     "A

            government's  interest in securing employees who will loyally

            implement its policies  can be adequately served  by choosing

            or  dismissing certain high-level  employees on the  basis of

            their political  views."   Rutan, 497  U.S. at  74 (citations
                                       _____

            omitted).7   On the other  hand, if defendants  can establish

                                
            ____________________

            7.  The  posture of  this  case  makes  it  inappropriate  to
            conduct   a   full-scale   examination   of   the   so-called
            "changeover"  or  "reorganization"   defense  established  by

                                         -18-
                                          18















            that  plaintiffs opposed  departmental policy  and that  they

            actively  attempted  in fact  to  thwart  it, that  could  be

            sufficient to establish a Mount Healthy defense.  See  Rutan,
                                      _____________           ___  _____

            497   U.S.  at  74  ("A  government's  interest  in  securing

            effective  employees can be  met by discharging,  demoting or

            transferring staff members whose work is deficient.").

                      There  appears to be  lurking in the  wings of this

            case, but not  on stage, a suggestion by  the defendants that

            if the plaintiffs were removed for  political reasons, and if

            their duties continued and were assigned to NPP members, that

            those  duties  nevertheless  fall  within  the   Elrod-Branti
                                                             _____ ______

            exception because those duties are sensitive enough to make a

            political  affiliation  requirement  appropriate.    However,

            defendants  did not raise the Elrod-Branti exception issue in
                                          _____ ______

            their  responsive pleading  or in  their  motion for  summary

            judgment.    The district  court  mentioned  the Elrod-Branti
                                                             _____ ______

            exception  despite the defendants'  failure to articulate it,

            but did  not resolve the  issue.  Rather, the  district court

            rested its  decision  on its  view  that plaintiffs  had  not

            established  a prima  facie case.    The issue  has not  been


                                
            ____________________

            Agosto-de-Feliciano, 889 F.2d  at 1220-22 in light  of Rutan.
            ___________________                                    _____
            However, we can say that,  after Rutan, a public employer may
                                             _____
            not assign tasks to supporters  of the party in power because
            it believes, solely on the basis of their  party affiliation,
            that  such employees will more loyally implement its policies
            -- notwithstanding language in Agosto-de-Feliciano that might
                                           ___________________
            be read to support such a decision.  See Agosto-de-Feliciano,
                                                 ___ ___________________
            889 F.2d at 1221.

                                         -19-
                                          19















            fairly briefed on appeal.   This court does not decide issues

            on  appeal that  have  not been  properly  raised before  the

            district court.  See McAleer v. Smith, 57  F.3d 109, 115 (1st
                             ___ _______    _____

            Cir. 1995).  Although the issue of the Elrod-Branti exception
                                                   _____ ______

            is  somewhat related to  the Secretary's contention  that the

            positions  were illegally created in part because they should

            have been classified as "confidential" positions under Puerto

            Rico law, it is by no  means the same argument.  See  Roldan-
                                                             ___  _______

            Plumey,  115 F.3d at 64-65 (rejecting government's claim that
            ______

            political affiliation requirement is permitted despite Puerto

            Rico's classification of position as "confidential.").

                      Until the contours  of the case  are clear, we  are

            reluctant,  as we  have  been  invited to  do,  to engage  in

            further analysis  of the effects  of Rutan  on the  so-called
                                                 _____

            "changeover"  or  "reorganization"  defense  as  outlined  in

            Agosto-de-Feliciano, 889 F.2d at 1220-22.
            ___________________

                      Finally,   we  note   that,   if  plaintiffs   were

            originally classified appropriately  as career civil  service

            employees,  their claims  under the  Due  Process Clause  and

            under  the constitution  and  laws  of  Puerto  Rico  survive

            independently  of their First Amendment claim.  If plaintiffs

            reported to the Regional Directors,  as they claim, they were

            apparently classified  appropriately as career  employees and

            are therefore protected against political discharge under the

            civil service laws of Puerto  Rico.  See 3 L.P.R.A.     1301,
                                                 ___



                                         -20-
                                          20















            1331-1338.    The  Puerto Rico  legislature  may,  of course,

            establish  a  civil  service  system  that  provides  greater

            protection against  political discrimination  than the  First

            Amendment.  Plaintiffs may have claims under the Constitution

            of Puerto  Rico as  well.  Cf.  Jimenez-Fuentes, 807  F.2d at
                                       ___  _______________

            249-250  (Torruella,  J.,  dissenting)  (noting that  Supreme

            Court  of   Puerto  Rico  grants  broad   protection  against

            political discrimination, perhaps broader than this circuit's

            interpretation  of the  First Amendment);  Raffucci-Alvarado,
                                                       _________________

            816 F.2d at 822-23 (Torruella, J., dissenting) (same).

                      Likewise,  because  of plaintiffs'  tenured  status

            under Puerto Rico law, their summary demotions could raise  a

            claim under the Due Process Clause if their appointments were

            proper.  See  Cleveland Bd. of Educ. v.  Loudermill, 470 U.S.
                     ___  ______________________     __________

            532,  542  (1985)  (guaranteeing  procedural  protections  to

            public  employees  with  a  property  interest  in  continued

            employment under state law); Rivera-Ruiz v.  Gonzalez-Rivera,
                                         ___________     _______________

            983 F.2d 332, 334 (1st  Cir. 1993) (noting that, under Puerto

            Rico  law, the  existence of  a  property right  in continued

            public  sector employment  is dependent  on  the legality  of

            plaintiffs' appointments  under Puerto  Rico's civil  service

            laws).  That Due Process claim is not dependent on the merits

            of  plaintiffs'  First Amendment  claims;  the  inquiries are







                                         -21-
                                          21















            distinct.8   See  Nieves-Villanueva v.  Soto-Rivera, No.  96-
                         ___  _________________     ___________

            1285, slip op. at 16 (1st Cir. 1997).

                      The  judgment of the district court is vacated, and
                                                             _______

            the  case is remanded for further proceedings consistent with
                         ________

            this opinion.































                                
            ____________________

            8.  We  take the case  as we find  it -- with  defendants not
            articulating a defense based on the Elrod-Branti exception --
                                                _____ ______
            and so  we also do not delve into  a question, not briefed by
            any of the parties, as to whether the Due Process analysis is
            altered  in  any  way  if  defendants  may  validly  cause  a
            reclassification  of a position from a civil service position
            to  one  in  which  political  affiliation  is  a  legitimate
            requirement,  and how,  under  the laws  of  Puerto Rico,  an
            agency may accomplish this.

                                         -22-
                                          22









